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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE, DR.
ALICE WASHINGTON, STEVEN HARRIS,
ALEXIS CALHOUN, BLACK VOTERS
MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
CONFERENCE OF THE NAACP,                               NO. 3:22-cv-00178- SDD-SDJ

                               Plaintiffs,

       v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana

                               Defendant.




              DECLARATION OF JOSEPHINE M. BAHN IN SUPPORT OF
                   MOTION FOR ADMISSION PRO HAC VICE

       I, Josephine M. Bahn, of Washington, D.C., declare the following:

       1.      I have personal knowledge of the matters stated in this declaration and could

competently testify to the same if called upon to do so.

       2.      No disciplinary proceedings or criminal charges have been instituted against me.

       3.      A Certificate of Good Standing from the District of Columbia dated December 29,

2022 is attached to this Declaration as Exhibit 1. The Certificate states that I was duly admitted to

practice in the District of Columbia on October 2, 2017, and am in good standing as a member of

the bar of the District of Columbia.
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       Furthermore, I DO SOLEMNLY SWEAR that I will conduct myself as an attorney and

counselor of this Court, uprightly and according to law, and that I will support the Constitution of

the United States. I declare under penalty of perjury that the foregoing is true and correct.

Dated: June 10, 2023                                         /s/ Josephine M. Bahn
                                                             Josephine M .Bahn




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